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                              UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                            www.flsb.uscourts.gov
                                                CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                             Original Plan
                        ■   3rd                                     Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                                                                    Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: Norton Ruiz                                      JOINT DEBTOR:                                        CASE NO.: 18-17722-LMI
SS#: xxx-xx- 5157                                           SS#: xxx-xx-
I.          NOTICES
            To Debtors:           Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
                                  and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
                                  Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
                                  filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
            To Creditors:         Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                  be reduced, modified or eliminated.
            To All Parties:       The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
                                  box on each line listed below in this section to state whether the plan includes any of the following:
  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                     Included         ■   Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                     Included         ■   Not included
  out in Section III
  Nonstandard provisions, set out in Section VIII                                                                    Included         ■   Not included
II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

            A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
               fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
               amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                   1.   $3,902.68             for months    1    to 60 ;

            B. DEBTOR(S)' ATTORNEY'S FEE:                                                NONE      PRO BONO
        Total Fees:               $3650.00            Total Paid:            $1100.00            Balance Due:            $2550.00
        Payable             $510.00           /month (Months 1      to 5 )
        Allowed fees under LR 2016-l(B)(2) are itemized below:
        $3500 Attorneys Fees + $150 Cost = $3650

        Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.        TREATMENT OF SECURED CLAIMS
            A. SECURED CLAIMS:                  NONE
            [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
         1. Creditor: Caliber Home Loans
              Address: POB 24330                            Arrearage/ Payoff on Petition Date   $30,263.17
                       Oklahoma City, OK
                                                            Arrears Payment (Cure)                        $504.39       /month (Months    1   to 60 )
                       73124
                                                            Regular Payment (Maintain)                   $2,481.20      /month (Months    1   to 60 )
         Last 4 Digits of
         Account No.:                  7596
        Other:




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         ■   Real Property                                                               Check one below for Real Property:
                 ■ Principal         Residence                                            ■     Escrow is included in the regular payments
                       Other Real Property                                                      The debtor(s) will pay       taxes    insurance directly
         Address of Collateral:
         5451 West 10 Lane, Hialeah, FL 33012

             Personal Property/Vehicle
         Description of Collateral:
             B. VALUATION OF COLLATERAL:                           ■   NONE
             C. LIEN AVOIDANCE                   ■    NONE
             D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
                distribution fom the Chapter 13 Trustee.
                            NONE
                       ■    The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s)
                            request that upon confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in
                            personam as to any codebtor(s) as to these creditors.
                            Other:
                             Name of Creditor                Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
                             TD Retail Card Services         2993                         Furniture
                       1.
             E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
                fom the Chapter 13 Trustee.
                            NONE
                       ■    The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                            confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                            codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                             Name of Creditor                Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
                             Santander Consumer USA          5117                         2013 Infinity FX37
                       1.
IV.          TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
             A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE:                                               ■   NONE
             B. INTERNAL REVENUE SERVICE:                          ■   NONE
             C. DOMESTIC SUPPORT OBLIGATION(S):                            ■    NONE
             D. OTHER:               ■   NONE
V.           TREATMENT OF UNSECURED NONPRIORITY CREDITORS
               A. Pay                 $16.88         /month (Months    1       to 5 )
                       Pay           $526.85         /month (Months    6       to 60 )
                       Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.            If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                       ■   NONE
               *Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
               creditors pursuant to 11 U.S.C. § 1322.
VI.          EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
             section shall not receive a distribution from the Chapter 13 Trustee.
                       ■    NONE
VII.         INCOME TAX RETURNS AND REFUNDS:                           ■   NONE
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VIII.       NON-STANDARD PLAN PROVISIONS                 ■   NONE


                       PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                        Debtor                                                         Joint Debtor
  Norton Ruiz                                             Date                                                              Date



  /s/Robert Sanchez, Esq.                    September 28, 2018
   Attorney with permission to sign on                 Date
            Debtor(s)' behalf
   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph VIII.




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